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                     THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             NORFOLK DIVISION


 SYMBOLOGY INNOVATIONS, LLC,

              Plaintiff,
                                            CIVIL ACTION NO. 2:17-cv-00085
       v.

 MARS, INCORPORATED

              Defendant.




                           NOTICE OF DISMISSAL

      Under the Federal Rule of Civil Procedure 41(a), Symbology Innovations,
LLC (“SI”) voluntary dismisses all claims against Defendant Mars, Incorporated
and Defendant John Doe with prejudice, with each party bearing its own attorneys’
fees and costs.
Dated: June 9, 2017                        Respectfully submitted.


                                           /s/ Steven War
                                           Steven War
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                                           Attorney for Plaintiff Symbology
                                           Innovations, LLC
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                            CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that on June 9, 2017, I have

caused a true and correct copy of the foregoing to be electronically filed with the

Clerk of the District Court using the CM/ECF system, which will send

notifications of such filing to all counsel of record.

Dated: June 9, 2017                            By: /s/ Steven War

                                               Steven War
